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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS

                                                   )
LILIAN PAHOLA CALDERON JIMENEZ                     )
and LUIS GORDILLO, et al.,                         )
                                                   )
Individually and on behalf of all others           )
similarly situated,                                )
                                                   )   No. 1:18-cv-10225-MLW
               Plaintiffs-Petitioners,             )
                                                   )
       v.                                          )
                                                   )
KEVIN McALEENAN, et al.,                           )
                                                   )
               Defendants-Respondents.             )
                                                   )

                                PETITONERS’ REPORT

       This Court has ordered the parties to confer and report regarding: (1) whether

they agree to settle or jointly stay this case, or whether they request more time to confer;

(2) whether class members should receive notice under Federal Rule of Civil Procedure

23(c)(2)(A) and, if so, how; (3) when the court should decide the appropriate definition of

a class with respect to petitioners’ detention-related claims (Counts 5 and 6), and (4) the

nature of the limited discovery to be conducted by July 31, 2019. Dkt. No. 253. On May

28, 2019, the parties jointly reported that they have met and conferred on these issues,

while seeking more time (until June 5, 2019) to confer and report. Dkt. No. 257, 259.

       Given the length of the parties input, which were exchanged shortly before the

filing deadline, the parties file separately their status reports. The parties request 48

hours to address arguments raised in each report, or as otherwise directed by the Court.

       Petitioners report as follows:


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       1. Whether the parties have agreed to settle or jointly stay this case.

       The parties do not at this time have an agreement to settle or jointly stay the case.

The government continues to consider Petitioners’ proposed framework for settlement.

       2. Respective positions concerning whether notice should be directed to
          class members under Federal Rule of Civil Procedure 23(c)(2)(A) and, if
          so, how.

       Petitioners propose a reporting framework that would provide class counsel with

adequate notice of enforcement actions against class members and sufficient information

to challenge them, if necessary. This would obviate the need for notice to each class

member. Petitioners respectfully request that the Court order Respondents to provide

reporting regarding enforcement decisions against class members as follows:

 Petitioners’ Proposed Reporting                  Summary of Response and Remaining
                                                  Dispute

 Check-ins: Monthly reporting of                  Respondents have agreed to provide this
 interactions at Order of Supervision             reporting.
 check-ins with the name and A-numbers
 un-redacted, and a counsel of record
 column based on the most recent Form G-
 28 (Notice of Entry of Appearance as
 Attorney or Accredited Representative) on
 file.
 Detained class members: Monthly                  Respondents agree to provide such
 reporting of all currently detained class        reporting limited to individuals who are
 members, including name, A-number,               class members at the time they are
 attorney-of-record, and information about        detained, including one detention report of
 whether any ERO Stay of Removal (I-              class members currently detained.
 246) applications filed by the individual.
                                                  Respondents do not agree to provide
                                                  information about individuals who
                                                  become class members after they are
                                                  detained.
 Stays of removal: Monthly reporting of           Respondents do not agree to provide such
 all ERO Stay of Removal (I-246)                  reporting.
 adjudications involving class members
 (including class members who may not be
 checking-in or detained).
                                              2
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    Notice of imminent removals:                   Respondents agree to provide notice of
    Respondents provide class counsel five         imminent removals only in circumstances
    business days’ notice before removing or       in which a class member has not appeared
    enforcing the removal of any class             on a prior check-in or detention report.
    member, along with an explanation of the       Respondents do not agree to provide
    enforcement action.                            notice within any particular minimum
                                                   time before removal is effectuated.

          Respondents’ position would leave class counsel with insufficient information to

be able to protect class members. For example, Respondents do not agree to inform

Petitioners’ counsel about how it is handling class members’ applications for stays of

removal, except in the limited case of detained class members.1 Respondents’ proposal

would leave class counsel blind as to class members who may be removed as soon as a

stay expires. Similarly, Respondents’ notice provision—with no minimum time period

for providing notice—would permit the government to give class counsel notice of a

removal minutes before a plane departs.

          If the Court does not order Respondents to comply with Petitioners’ proposed

framework, Petitioners respectfully request additional time to confer with Respondents

regarding forms of class notice.

          3. Respective positions concerning when the Court should decide the
             appropriate definition of a class with respect to Petitioners’ detention-
             related claims (Counts 5 and 6).

          It is Petitioners’ view that, at this juncture, the Court need not define a class with

respect to Counts 5 and 6. It is not necessary for the Court to define a class until later in

the case when this Court decides the necessary remedies, if any, with respect to detention.



1
  Even though Ms. Adducci testified that a Stay of Removal application is the way seek
relief from removal, see Aug. 21, 2018 Hr’g Tr. at 84:21-86:9, Respondents do not
currently report on this information nor do they propose reporting on this information
unless an individual is detained.
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       4. Respective positions concerning the nature of limited discovery to be
          conducted by July 31, 2019.

       Petitioners have proposed three depositions and the production of eight limited

categories of discovery. Respondents have agreed only to one deposition and to

meaningfully respond to only two of Petitioners’ requests for discovery. Instead of

relevant discovery, Respondents propose to spend their time producing a large cache of

2016 documents that they incorrectly characterize as the administrative record.

       Petitioners’ deposition and discovery requests have two main purposes: 1) helping

Petitioners understand the Boston ERO’s current treatment of class members and the

likelihood that these practices will continue without litigation and judicial scrutiny; and

2) helping Petitioners focus future discovery by eliciting top-level information about the

government’s actions that form the basis of this case. In response, the government

refuses to allow the deposition of anyone other than Marcos Charles and refuses to

provide any discovery from USCIS or that relates to the Boston ERO’s practices and

policies before July 2018. Petitioners therefore seek an order requiring Respondents to

provide the discovery Petitioners requested by July 31, 2019.

       Petitioners have proposed the following depositions, and Respondents have

responded with the following positions:

 Petitioners’ Proposed Deposition                 Summary of Response and
                                                  Remaining Dispute

 A 30(b)(6) deposition of Marcos Charles (or      Respondents have identified Mr.
 another witness or witnesses) regarding how      Charles as their 30(b)(6) deponent but
 the Boston ERO identifies individuals as         agree to make him available to testify
 Calderon class members and its                   only to the Boston ERO’s practice
 supervision, arrest, detention, and removal      regarding the arrest, detention, and
 of these class members from July 30, 2019        removal of class members from July 30,
 to present.                                      2018 to present.


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                                                Respondents do not agree to allow
                                                deposition of Mr. Charles on the
                                                subjects of how ERO identifies
                                                individuals as Calderon class members
                                                and the supervision of these individuals.

 A 30(b)(6) deposition of USCIS regarding,   Respondents do not agree to provide
 from August 29, 2016 to the present, USCIS any USCIS deponent.
 District 01’s (1) policies or practices
 regarding processing, scheduling, and
 handling of class member’s USCIS
 applications; and (2) policies or practices
 regarding coordination or communication
 with ICE regarding applications or
 appointments connected to I-130, I-212, I-
 601A and other immigration applications
 filed by individuals subject to final
 administrative orders of removal. Since the
 USCIS deponent has been identified, please
 identify him/her to us.

 A deposition of Christopher Cronen             Respondents do not agree to produce
 regarding Boston ERO’s practice regarding      Mr. Cronen for a deposition.
 the identification, supervision, arrest,
 detention, and removal of class members
 from January 25, 2017 (when Executive
 Order 13768 issued) to the present and how
 that practice was the same or different from
 Boston ERO’s prior practice based on his
 position as the Boston Field Office Director
 and in his current role supervising
 operations in the Boston Field Office and
 other Eastern field offices.


       Petitioners have proposed the following limited categories of documents, and

Respondents have responded with the following positions:




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    Petitioners’ Proposed Discovery Requests Summary of Respondents’ Response
                                             and Remaining Disputes

    1. A refresh of the search the government    Respondents agree to produce Boston
    conducted in response to the Court’s July    ERO documents responsive to this
    16, 2018 order (Dkt. 117).                   request.2

    2. All documents from the denial of the     Respondents agree to produce Boston
    motion to dismiss on August 23, 2018 to the ERO documents responsive to this
    present related to the measures taken by    request.
    acting Field Office Directors Todd Lyons
    and Marcos Charles to ensure compliance
    with the Court’s August 23, 2018 Order.

    3. All documents reflecting whether and      Respondents refuse to produce
    how, since August 23, 2018, the Boston       documents responsive to this request.
    ERO uses information provided by
    individuals on USCIS application forms,
    and/or how the Boston ERO communicates
    with USCIS to obtain address or other
    information about individuals with final
    orders of removal.

    4. All USCIS District 01 and Boston ERO      Respondents agree to produce
    documents, including correspondence, e-      documents relating only to two cases
    mails, notes, regarding this case (18-cv-    (Batista Ferreira v. Lyons, No. 19-cv-
    10225-MLW), or related cases before Judge    10258-MLW; and Lima v. Lyons, No.
    Mark L. Wolf since April 27, 2017,3 but      19-cv-10400-MLW) and do not agree,
    excluding communications with OIL            even as to these cases, to provide
                                                 communications or a privilege log

2
 To the extent a document is protected by the attorney-client, work-product, deliberative
process, or other privilege, Respondents have agreed to provide Petitioners with a
privilege log by which they can assess each claim of privilege.
3
  These related cases are: Arriaga Gil v. Tompkins, No. 17-cv-10743-MLW; Dos Santos
v. Nielsen, No. 18-cv-10310-MLW; Junquiera v. Souza, No. 18-cv-10307-MLW; De
Oliveira v. Moniz, No. 18-cv-10150-MLW; Rutkowski v. Nielsen, No. 18-cv-10953-
MLW; Aligaweesa v. Nielsen, No. 18-cv-11388-MLW; Nkojo v. Nielsen, No. 18-cv-
11401-MLW; Li v. Nielsen, No. 18-cv-11596-MLW; Batista Ferreira v. Lyons, No. 19-
cv-10258-MLW; and Lima v. Lyons, No. 19-cv-10400-MLW. Petitioners do not seek
privileged communications. Thus, this request exempts any communications with the
Office of Immigration Litigation and the Boston U.S. Attorney’s Office entirely so that
they do not need to be included in any privilege log. Petitioners ask that other claims of
privilege—including those relating to communications with ICE counsel—be addressed
through ordinary privilege log procedures.
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 counsel and the Boston U.S. Attorney’s         covering communications with agency
 Office.                                        counsel.

                                                Respondents refuse to produce
                                                communications and other documents
                                                relating to this case and the other related
                                                cases.

 5. All USCIS District 01 documents             Respondents refuse to produce
 concerning the scheduling of standalone I-     documents responsive to this request.
 130 interviews for class members since
 August 23, 2018.

 6. All USCIS District 01 documents             Respondents refuse to produce
 regarding the potential or actual detention,   documents responsive to this request.
 arrest, and removal of any class member
 since January 25, 2017 (when Executive
 Order 13768 issued).

 7. Documents created by or                     Respondents refuse to produce
 communications involving Christopher           documents responsive to this request.
 Cronen from January 25, 2017 (when
 Executive Order 13768 issued) to the
 present regarding Boston ERO practices for
 class members.

 8. An aggregate report that shows every      Respondents refuse to produce
 stay of removal decision, arrest decision,   documents responsive to this request.
 custody determination, or removal of a class
 members since August 23, 2018, or,
 alternatively, records of each of these
 decisions.


       Petitioners address Respondents’ primary objections to discovery below.

   1. Documents and Information Regarding Events Prior to August 23, 2018

       The parties have a fundamental disagreement regarding whether this initial

discovery period should be “limited” to focus only on the most relevant testimony and

documents to move this case forward or is limited only to information concerning events

since this Court denied Respondents Motion to Dismiss in part on August 23,

2018. Nothing in this Court’s May 17, 2019 Order or during the May 16, 2019
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proceedings placed any time limit on the types of materials and testimony Respondents

could provide during this initial period. Petitioners are pursuing narrow categories of

information that will substantially move the case forward by potentially providing a basis

for settlement and, at the least, focus future discovery and deposition requests.

       Documents from before August 23, 2018 would help Petitioners understand not

just what happened to the class members (and therefore focus future discovery and

deposition requests), but how it happened, and thus how it can be prevented going

forward. The documents Petitioners received in July revealed—to an extent not made

clear in the depositions of ICE officers—the agency’s shocking disregard for the

provisional waiver process and the families pursuing it. Although ERO has reportedly

modified its conduct, it has done so during a period in which it has been appearing

regularly before this Court, and during which DHS has declined to appoint a permanent

Field Office Director. Some discovery into the government’s conduct prior to the start of

this case is critical to informing Petitioners and the Court as to how the Boston ERO and

other DHS actors are likely to behave when not under Court supervision, including when

a permanent Field Office Director is appointed.

       Petitioners have confined their requests at this stage to narrowly target those areas

that would be most useful in moving the case forward. Still, Respondents refuse to

produce any such documents reflecting pre-July 2018 practices and policies.

   2. Deposition and Documents Related to USCIS Internal Policies and Practices

       Respondents have refused to produce a 30(b)(6) deponent or documents regarding

CIS internal policies or practices. Discovery from CIS is crucial to this action, including

to any potential settlement. The July discovery—which was limited to ICE

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communications—revealed that CIS worked closely with ICE to facilitate the arrest of

class members. But Petitioners have not received a single piece of discovery from CIS.

Respondents not only refuse to provide discovery into how CIS helped to interfere with

class members’ provisional waiver applications in 2017 and 2018, but they also refuse to

provide discovery into CIS’s current treatment of class members, including whether CIS

is delaying the scheduling of class members’ I-130 interviews.

   3. Deposition of and Documents Belonging to Mr. Cronen

       Petitioners seek to depose former Boston ICE ERO Field Office Director

Christopher Cronen regarding that office’s enforcement policies and practices during his

time as FOD, his “policy to have [class members] arrested at CIS offices,” see May 23,

2018 Hearing Tr. at 129:17-130:25, changes to those policies after his promotion to

Deputy Assistant Director for Domestic Operations within ICE ERO Headquarters Field

Operations Division, and the likelihood that ICE ERO’s policy and practice of taking

enforcement action against class members without consideration of their provisional

waiver applications will be reimplemented in the future. Petitions also seek his

corresponding documents. See Petitioners’ Request No. 7 in the above chart.

       It is appropriate to depose Mr. Cronen and compel production of his documents

during this limited discovery period for three reasons:

       First, Mr. Cronen’s testimony and documents are indisputably relevant to all of

the Class’s Constitutional, INA, and APA claims; as the Boston ICE ERO FOD from

August 2016 to January 2018, he oversaw ERO operations and responsibilities from the

implementation of the provisional waiver regulations in August 2016, was tasked with

implementing Executive Order 13768, and formulated the Boston ERO policy of

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targeting class members at CIS offices.4 Mr. Cronen’s actions and decision-making are

at the core of this case. He is also the only witness the parties have identified that has

personal knowledge of the time period preceding Mr. Lyons’ appointment as Deputy

FOD on September 19, 2017, when the policies and practices at issue in this case were

implemented.

       Second, given his role at the center of this case, deposing Mr. Cronen and

reviewing his documents prior to July 31, 2019 will substantially focus merits discovery

going forward since this information will assist the parties in identifying the relevant

decisions, time periods, documents, and eyewitnesses.

       Third, Mr. Cronen’s testimony and documents are also relevant to ICE Boston

ERO’s current policies and practices and any intention that ICE will resume targeting

class members for enforcement without regard for their pursuit of provisional waivers.

After implementing ICE Boston’s enforcement policies targeting class members, Mr.

Cronen was promoted to Deputy Assistant Director at ICE Headquarters where he




4
  Mr. Cronen served as “Field Office Director for the Boston Field Office, overseeing all
ERO operations and responsibilities within the six New England states” from August
2016 to January 2018. Aug. 13, 2018 Decl. of Christopher Cronen, ¶ 4, Grace v.
Sessions, 1:18-cv-01853-EGS (D.D.C. Aug. 13, 018) (available at
https://www.aclu.org/legal-document/grace-v-sessions-declaration-christopher-cronen)
(the “August 13, 2018 Cronen Decl.”).
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continues to supervise Boston ICE ERO’s enforcement and removal efforts.5 Emails

produced by Respondents in this case also indicate that Mr. Cronen remained involved in

ICE Boston’s USCIS arrest practices at a time when he had apparently been promoted.

See ICE-0001645 – ICE-0001647 (January 30, 2018 email chain where Mr. Cronen and

others discuss an arrest of a potential class member at USCIS).6 Under Mr. Cronen’s

supervision, ICE Enforcement Operations in the eastern United States has continued to

expand their practice of targeting individuals with final orders of removal at USCIS

offices.7 Therefore, Mr. Cronen’s testimony is crucial to determine the structure of any

potential settlement or stay of this case and the scope of injunctive relief should the Class

prevail on the merits.




5
  Mr. Cronen is “currently the Deputy Assistant Director (DAD) for Domestic Operations
– East, within the U.S. Department of Homeland Security (DHS), U.S. Immigration and
Customs Enforcement (ICE), Enforcement and Removal Operations (ERO),
Headquarters Field Operations Division.” August 13, 2018 Cronen Decl., ¶ 1. In that
role, Mr. Cronen “supervise[s] operations for Field Offices in the Easter United States,
providing guidance and coordination in support of ERO’s enforcement and removal
efforts conducted by its Field Offices.” Id. at ¶ 2. His “duties and responsibilities
include oversight and management of ERO enforcement, detention, and removal
operations for Field Offices in the eastern half of the United states, including application
of governing laws, regulations, policies, and procedures.” Id.
6
 A true and correct copy of ICE-0001645 – 0001647 is attached to the
contemporaneously filed June 5, 2019 declaration of Stephen N. Provazza as Exhibit A.
7
 See, e.g., Natalia Megas, ICE Jailed Pregnant Woman and Could’ve Killed her Unborn
Child, Daily Beast (Jan. 31, 2019), https://www.thedailybeast.com/ice-jailed-pregnant-
woman-and-couldve-killed-her-unborn-child; Brenda Medina, Her Husband Went to an
Immigration Interview about their Marriage. He Was Detained by ICE, Miami Herald
(Oct. 1, 2018), https://www.miamiherald.com/news/local/immigration/article219298775.
html.
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    4. Administrative Record

        Petitioners respectfully request that the Court order, to the extent Respondents

intend to certify an administrative record regarding Petitioners’ Administrative Procedure

Act claim, that such record include and begin with documents relevant to the challenged

conduct in this case. During the May 16, 2019 hearing, Respondents asserted that they

                intend to submit a certified administrative record addressing
                the 2016 regulatory change and that the regulation will show
                one of two things: Either the petitioners’ position about
                when and what penumbra of rights was created when the
                regulation was promulgated was considered by DHS in a
                notice and comment in compliance with 5 U.S.C. 553 and
                either rejected such that ICE’s actions haven’t been contrary
                to anything within the regulation or adopted by DHS, at
                which point in time the court would have the factual basis it
                needs to rule on the regulatory review on the rule-making
                claim.

May 16 Hearing Tr. at 42:6-16. Based on this and other representations at the May 16

hearing, Petitioners understand Respondents position to be that the administrative record

consists of records that led to promulgating the 2016 provisional waiver regulations.

However, the 2016 provisional waiver regulation rulemaking is not the relevant

administrative record for Petitioners APA claim and does not meaningfully bear on the

issues in this case.

        Rather, any appropriate administrative record must include documents relevant to

the conduct challenged in this case: Respondents actions after the 2016 provisional

waiver regulations went into effect. See, e.g., Ctr. for Native Ecosystems v. Salazar, 711

F. Supp. 2d 1267, 1272 (D. Colo. 2010) (“[T]he proper scope of the Administrative

Record” is based on “the nature and scope of the decisions challenged by Petitioners”).

Indeed, Respondents’ proposed administrative record will necessarily be incomplete

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since any documents relevant to whether the regulations were violated must post-date the

enactment of those regulations.

       For that reason, Respondents’ remarks that the rulemaking record is voluminous

and difficult to assemble creates cause for concern that Respondents seek to devote

significant resources to assembling a record that does not meaningfully bear on the issues

in this case before they produce any relevant discovery. While Petitioners would receive

the rulemaking record, it is not requested and should not come at the expense of other

relevant record materials or discovery.




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         Respectfully submitted this 5th day of June, 2019.

                                          /s/ Kevin S. Prussia
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